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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-20104-CR-JEM(s)(s)(s)


     UNlTED STATES OF AMERICA

     vs.

     ANTONIO INTRIAGO,

                              Defendant.
     -----------------I
                                        STIPULATION AND ORDER

             The United States and the defendant, by and through their respective attorneys , stipulate as

     follows as to the handling of material to be provided by the government pursuant to Rule 16 of the

     Federal Rules of Criminal Procedure and later pursuant to Title 18, United States Code, Section

     3500 and Giglio v. United States. 405 U.S. 150 ( 1972), or Napue v. Illinois, 360 U.S. 264 ( 1959),

     and their progeny (collectively " Restricted Material"), which stipulation is thereafter accepted by

     the Court and entered as an Order in the pending case:

             I.     Whereas the goverpment may call as witnesses in the above-referenced trial certain

     individuals who are assisting in multiple prosecutions and investigations in addition to the above-

     referenced matter; and

            2.      Whereas the public disclosure of such assistance and on-going investigations could

     negatively impact the safety concerns of witnesses, law enforcement personnel, U.S. persons

     stationed abroad. and the families of those respective individuals. as well as the integrity of the on-

     going investigations and operations;
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           3.   The parties agree that:

                a.     the defense shall not show or disseminate any of the Restricted Material to

                       anyone other than the defendant, attorneys of record for the defendant and

                       staff from defense counsel 's law office, and U.S.-basecl paralegals,

                       investigators, retained experts and interpreters working for that law office;

                b.     the defense shall not show or disseminate any of the Restricted Material to

                       any foreign (non-U.S.) attorneys or other foreign individuals, including

                       family members of the defendant or the defendant's foreign attorney, if any ·

                c.     the defense shal l not transport or transmit any or the Restricted Material

                       outside of the United States;

                d.     with respect to Restricted Materials that are classified as Section 3500 or

                       Girrlio, Napue and their progeny, the government will label these materials

                       collectively as "3500," as distinct from materials provided under Rule 16,

                       and the defendant shall not possess any of the 3500 material, either before,

                       during, or after the trial, except when in the presence of attorneys Crom

                       defense counsel 's law office, or U.S .-based paralegals, investigators, or

                       interpreters working for that office; and




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                       e.   the defense sh al I return to the government, or destroy, all or the Restricted

                            Material, as well as any copies made for trial preparation, at the close or the

                            trial , when any appeals have become final or in compliance with loca l Bar

                            Rules.

     So stipulated .
                                                   MARKENZY LAPOINTE

      03/08/2023
     DATE                                  By:
                                                   A n-c/4u,,
                                                   ANDREA GLDBARG
                                                                 tU,5~
                                                   UNITED STATES ATTORNEY



                                                   ASSISTANT U.S. ATTORNEY
                                                      ~         - ,
                                                                      .>

                                                   EMMANUEL PEREZ, ESQ.
                                                   ATTORNEY FOR DEFENDANT

             THIS MATTER comes before the Court upon the Government ' s request for an Order

     memorializing the parties ' agreement to protect certain Restricted Materials and to enlist the

     Court 's assistance in enforcing the parties ' agreement, should such assistance become necessary.

             Accordingly, it is ORDERED, ADJUDGED and DECREED as follows:

            The Court grants the Government's request.

             DON E J\ND ORDERED in chambers at the United States Courthouse, Miami , rlorida,

     this _J_s=_ day or     w   2023.




                                                   JOSEE
                                                   UNITE STATES DISTRICT JUDG E
                                                   SOUTHERN DISTRICT OF FLORIDA




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